Case 8:19-cv-01993-JVS-DFM Document 1-1 Filed 10/18/19 Page 1 of 13 Page ID #:5




        EXHIBIT A
      Case 8:19-cv-01993-JVS-DFM Document 1-1 Filed 10/18/19 Page 2 of 13 Page ID #:6




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 20418290
Notice of Service of Process                                                                            Date Processed: 09/20/2019

Primary Contact:           SOP Team nwsop@nationwide.com
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215

Electronic copy provided to:                   Ashley Roberts

Entity:                                       Scottsdale Insurance Company
                                              Entity ID Number 3286058
Entity Served:                                Scottsdale Insurance Company
Title of Action:                              Cultivation Technologies, Inc vs. Scottsdale Insurance Company; Ohio Stock
                                              Insurance Company, and Does 1 Through 20
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Orange County Superior Court, CA
Case/Reference No:                            30-2019-01096233-CU-IC-CJC
Jurisdiction Served:                          Ohio
Date Served on CSC:                           09/19/2019
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Catanzarite Law Corporation
                                              N/A

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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                DAVID H. YAMASAKI, Clerk of the Court By Jessica Edwards; Deputy Clerk: 30-20 1 9-01 09 6233-CU-IC-CJC ROA # 7



                                                   SUM.MONS                                                                          FOR COURT USE ONLY
                                                                                                                                 (SOLO PARA USO DE LA CORTE)
                                          (CI TA CION J VDlC/fi46)                                          I

    NOTICE TO DEFEiVDANT:
    (AVISO AL DEMANDADO):
    SCOTTSDALE INSURANCE COMPANY, an Ohio Stock Insurance
    company, and Does 1 through 20, inclusive
    YOU ARE BEING SUED SY PLAINTIFF:
    (LO ESTi4 DEMANDANDO EL DEMANDANTE):
    CULTIVATION TECHNOLOGIES, INC., a California corporation
                                                                                 .                          I
     NOTICE! You have been sued. The court may decide against you without your being hedd unless you respond within 30 days. Read the information
     below.
        You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this cwurt and have a copy
     served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
     case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
     Online Self-Help Center (www.courtinfo.ca.govtselfhe/p), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, as!<
     the court clerk for a fee waiver form. if you do not file your response on time, you may lose the case by default, and your wages, money, and properky
     may be taken without further warning from the court,
        There are other legal requirements. You may want to call an attorney right away. If you'do not know an aftorney, you may want to cali an attomey
     referral service. If you cannot afford an attorney; you may be eligible for free ]egal services from a nonprofit ]egal services program. You can locate
     these nonprofit groups at the Catitornia Legal Services Web site (www.lawhetpcalifornia.org), the California Courts Online Self-Help Center
     (www.courtinfo.ca.govtse/fhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien forwaived fees and
     costs on any settlement or arbitration award of $10,000 or more in a civil case. The courPs lien must be paid before the court will dismiss the case.
     IAVISOI Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sfn escuchar su versi6n. Lea la informacidn a
     continuacidn.
        Tiene 30 DIAS DE CALENDAR(O despues de que le entreguen esta citacidn y papeles legales para presentar una respuesta por escrito en esta
     corte y hacer que se entregue una copfa al demandante: Una carta o una Ilamada telef6n)ca no lo protegen. Su respuesta por escrito tiene que estar
     en formato /egal correcto si desea que procesen su casa en ta corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
     Puede encontrar estos formularios de !a corte y mas informacion en el Centro de Ayuda de /as Cortes de California (www.sucorte.ca.gov), en la
     biblioteca de leyes de su condado o en /a corte que /e quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de /a corte
     que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por Incumplimiento y ta corte le
     podra quitar su sueldo, dinero y bienes sin mas advertencia.
      Hay otros requisitos lega/es. Es recomendable que /iame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
     remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener serviclos /egales gratuitos de un
     programa de servicios Iegales sin frnes de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
     (www.lawheipcalifornia.org), en el Centro de Ayuda de /as Cortes de Callfornia, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
     colegio de abogados locales. AVISO: Por ley, la corte tlene derecho a reclamar /as cuotas y los costos exentos por imponer un gravamen sobre
     cualquier recuperacidn de $10,000 o mas de valor recibida mediante un acuerdo o una concesidn de arbitraje en un caso de derecho civi/. Tiene que
     pagar el gravamen de la corte antes de que fa corte pueda deseahar el caso.
The name and address of the qourt is: _.                                                                        I cnsE NUMeER:
    (El nombre y direccion de la corte es): Orange COunty Superior Court                                         fNoma,~ defCasol:
 Central Justice Center                                                                       30-2019-01 09E233-CU-IC-C,IIC
 700 Civic Center Drive West Santa Ana CA 92701                                              1udgs Glenn Ss.lter
The name, address, and telephone number.of p(aintiffs attorney, or plaintiff without an attorney, is:
    (EI nombre, la direccibn y e/ ndrnero de telefono de/ abogado de/ demandante, o de/ demandante que no tiene abogado, es):
    Kenneth J. Catanzarite (SBN l 13750) - 2331 West Lincoln Avenue Anah ', A 92801 Tel: (714) 520-5544
    DATE: ~p9,~~,~,120~,9                          DAVID.H. YAMASAKI; ". Clerk, by .                                                                               Deputy
    (Fecha)                                        Clerk of the Court.   (Secretario)                                                                             (Adjurito)
(For proof of service of this summons, use Proof of Service of Surrimons (forrri P -010).)
(Para prueba de entrega de esta citation use e/ formuiario Proof of S'ervice of Summons, (POS-010)).                                                    'essica Edw$rds
                                  NOTICE TO TFiE PERSON SER~lED. You are served
                                 .1. ~" as an indvidual defendant.
                                 2.        as the person sued under the fictitious name of (specify):


                                              3, 0 on behalf of (specify):

                                                       under: 0 CCP 416.10'(corporation)                                   CCP 416.60 (minor)
                                                               Q CCP 416:20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                               ~ CCP.416.40 (association or partnership)                   CCP 416.90 (autho(zed person)
I                                         I                    ~ other (specify):
                                              4;              by persona!, de!ivery on (date):
                                                                                                                                                                    Page1 of1
    Porm Adopted for Mandatory Use                                                                                                        Code of Civil Procedure §§ 412.20, 465
                                                                                      SU MMQN S
      Judicial Council of Califomia   .            '     ~.          ..   , .-   ..   .  . . ..                              .                             www.courtirtro.ca.gov
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                        DAVID H. YAMASAKI, Clerk of the Court By MiriamCruz,;Deputy Cletk. 30-2019-01096233-CU-IC-CJC ROA /k 2




                     1  Kenneth J..:Catarizarite. (SBN 113750)
                        kcatanzarite@catanzarite.com
                     2 :CATANZARITE LAW COR.PORATION
                        2331 West Lincoln Averiu.e
                     3 Anaheim, Califoinia 92801
                          Tel: (714) 520-5544
                     4 Fax: (714) 520-0680
                     5

                     6    Attorneys for Plaintiff
                     7
                                                      IN THE SUPERIOR COURT OF CALIFORNIA
                     8
                                                                 FOR THE COUNTY ORANGE
                     9
         ~                CULTIVATION TECHNOLOGIES, INC., a                           Case No. 30-201 9-0t 096233-0-IC-CK
        (0          10    California corporation,
         0,                                                                           Assigned for All Purposes to
p~—~                11            Plaintiff, .                                        Dept: ,1u,Ige Gtenn Salater
Q W~~                                                                                 Hon.
   > (\J 1          12    v.
D Q0)
a                                                                                     COIVIPLAINT FOR DECLARATORY
ir ~ Q v            13 SCOTTSDALE INSURANCE COMPANY,                                  RELIEF
U O~  z                an Ohio Stock Insurance=company, and Does
~ Z 0~-             14 1 through,20, inclusive
~NU~                15            Defendant.
 F— W    LO
-' iE 3:            16
  ~—w N  O
 Q(1)               17             Plaintiff, CULTIVATION TECHNOLOGIES, INC. (hereinafter "CTI" and "PlaintifP')
        Z~

v N `t ~            18 alleges as follows:
       r`
       W            19             1.       CTI,is and at all times relevaiit hereto was a duly organized and existing
         H
                    20    California.corporation for times relevant conducting business from its offices in Orange County.
                    21             2.        Plaintiff is informed and believes and on that basis alleges that defendant
                    22 SCOTTSDALE INSURANCE COMPANY (hereinafter "SCOTTSDALE") is and at all times
                    23 relevant hereto was a duly organized and existing corporation which is engaged in the business of

                    24 insurance and doing business in the State of California.
                    25             3..       The true names of Defendant Does 1 through 10, inclusive, are unknown to CTI at
                    26 this time. CTI sues these.deferidants by these f ctitious names pursuant to Section 474 of the
                    27 Code of Civil Pr.ocedure. CTI is informed and believes and upon that basis alleges that each of
                    28 the Defendants designated':as.a Doe is l~gally responsible for the events and happenings referred

                                                                   Declarat®ry. Relyef Complaint `
                  Case 8:19-cv-01993-JVS-DFM Document 1-1 Filed 10/18/19 Page 5 of 13 Page ID #:9



                       1   to'in this Complaint, and unlawfdlly*cAused ihe'inj'uries and dainages to CTI alleged in this
                       2   Complaint. CTI is furiher inf6rmed.'andbe'lieveg aind'o'n.that basis alleges that each of the

                       3   Defendants desig'nated as a Doe is: or wAs a reslioent or citizen of the State of Califomia. CTI will

                       4   amend this Complaint to substitute the true names and identifies of the fictitiously sued
                       5   defendants once they have been identified,
                       6          4.      CTI is inforrned and believes and on that basis alleges that at all times lierein
                       7   mentioned, each defeiidant was the agent, principal, alter ego, partner and/or co-coiRspirator of
                       8   eacli of the other defendants in the acts and conduct alleged herein, and therefore'ineurred
                       9   liability to plaintiff for the acts and omissions alleged below.-
             0
             cc
                      10           5.     This -digputenvo
                                                        ilves.at -lt
                                                                  eas oneinsurance policy-issued be Defendants and. Does
             0
zZ           0
0                     11 1 -20 io CTI Nvhile doing business in Orange.County.
         o Lo
< W OD —
It >                  12          6'L     There is at least one underlying lawsuit for which disputed directors and officers,
0 < 0)
ir Z <                13 of CTI may liave s6ught insurance
                                                       . . .coverage from SCOTTSDALE specifically the matter styled
o _j
   0 z-
   () a:     LL
   z LL
      0               14 Richard Mesa,. et aL v. Richard Joseph Probst, et aL, Orange County Superior Court case

         <—           15 number 30-2019-01.064267 (the "MesaAction").
w    U) C)
1-   w       Lo
                      16          .7.     Upoli infonnation and belief S
                                                                       . COTTSDALE is currently the insurer of a Business
             0
Z 1: N
 co < LO              17 aiid Management
                                    '    Indemnity Policy with'CTI, Policy No. EKS3206247 for $3,000,000 coverage
    z
                     18    for the directors, officers, and, CTI(the "Policy).
             J        19          8.,     Upon 4riformation. ano. belief CTI alleges.1hat SCOTTSDALE is providing defense
                      20   and potential.1y indemnity to the individual defendants in the Mesa Action under the Policy after
                      21   having been notified.-that tilosepersons-have not hadany indemnity approved by the disinterested
                      22 . coinmon shareholders aiid as S.11ch have iiot met aiid cannot meet the requirements of California

                      23   Corp. Code, § 3,17 which. provides:.,

                      24           (e) Except as, provided in subdivision (d), any indemnification under this section shall be
                                   made by the corporation only if authorized in the specific case, upon' a detennination that
                      25           indeinnification of the agent is proper in tha circurristances because the agent has met the
                                   applicable standard of conduct set forth in subdivision (b) or 0, by any of the following:
                      26           (1) A. maioritv v(jte'of a quorurn consistingof directors who are not parties to such
                                   proceeding.
                      27          .(2). If such aquorm n of directors is not obtainable' by -independent legal counsel in a
                                   written opinion.
                      28           (3) Approval- of the sharebolders, (Section 153); with the shares owned by the person to be
                                                                             2.
                                                              DecIaratbiry* Relief Complaiiit
 Case 8:19-cv-01993-JVS-DFM Document 1-1 Filed 10/18/19 Page 6 of 13 Page ID #:10
                                                                              ...
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                                                         .,       ..,:'..~:.~~. ~.~:~ i ,.,

                 ind'eninified not being eiititled; to vote thereon.
                 (4) The.courtin which the proceeding is or was pending upon application made by the
      2          corporation or-the. agent or; the: aXtQrne,y or.other person rendering services in connection
                 with the defense, 'tivhether or not the`applicatinn by the agent, attorney or other person is
      3          opposed by the coiporation. `
                 Californ.ia Co~p.,Code, §.317
      4

      5          9. ~_ Further, CTI informed SCOTTSDALE that its Bylaws required an undertaking
      6   prior to providing any indernnity or defense.
      7          10.          Finally; CTI has notified SCOTTSDALE of its demand that no defense or
      8I indeinnity be provided to the individual defendants in the Mesa Action under the Policy until and
      9   unless the disinterested common shareholders approve the saine and a suitable undertaking has
     10 been provided by each. such defendant:'
                 11.          SCOTTSDALE has refizsed to coxrimunicate with the officers and directors
     12 elected by the common sh.areholders of CTI wlio are of the position that only they and their
     13 elected officers and directors speak for CTI.
     14          12'.         Upon i:nformation.and belief SCOTTSDALE is following instructions from
     15 directors,and officers, and counsel engaged thereby, based upon votes by Series A Preferred
     16 Stock; the issuance of which is disputed by .CTI's common shareholders.
     17          11           An actual controversy now exists, between CTI, on;the one hand, and
     18 SCOTTSDALE, on the other hand, with respect to the. rights and liabilities of the parties under
J    19 the Policy. CTI contends that no :defense or indemnity can be provided absent complianee with
F-
     20 California CoYp. Code, § 317: including a vote by the disinterested common shareholders and an
     21   adequate undertaking.                                           n
     22          14:. ",CTI is informed, and .believes, and on that basis alleges, that SCOTTSDALE,
     23 contends to the_contrary.
     24          15.1         CTI seeks a deelaration of its rights under the Policy specifically including,
     25 without limitation, a judicial declaration that:
     26                           a.        No farther defense may-be provided under the Policy unless and until the
     27          vote of the disinterested common.shareholders of CTI is.obtained, and
     28
                                                                                                             3.
                                                                    Declatiratmry Relief Complaint
           Case 8:19-cv-01993-JVS-DFM Document 1-1 Filed 10/18/19 Page 7 of 13 Page ID #:11



                1                        b:     :Ari adecluat~, wndesrta~ng is; prov~cled:,by any person provided :deferis~ or
                2            inderiiriity:                            ~
                3            WHEREFORE, :                     Tl;pr for; j uag~nerit, as fallows:                     ~
                4            l.          For a declarat2on tk~at;SCOT''I'~Dr~LE is requrre~ ;under the ~er~~nd conditioris
                                   y .                                      Ty            ~ ~        .:         > F              s
                5     of fhe Polic .to withhold defense`and.indemn2 until'a rra~ ort ; vote of drs~n~+ereste~ cqmmon
                fi shareholders of CTI,is obtained and an>adequate underfaking is'prayided;

                ~7           2.          For.costs.of suit; arid.
                `8           .1.
                             3           For such_qther and farther rehef as. the Coart. may.deem, j~st anti'proper.

          o:    `g                                                                                       ~                 ..
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               10     DATED'. S'eptember-6, 2Q1'~::                              A_   4
                                                                                                     CORPORATION;
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                                                                    clarator~ ~Zelief'Coniplamt
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                DAVID H. YAMASAKI, Clerk of the Court By Miriam Cruz, Deputy Clerk. 30-2019-01096233-CU-IC-CJC ROA # 3
                                                                                                                                                                               CM-010
 ATTORNEY OR PARTY WITkIOUT ATTORNEY' Neme; late Ber numb~ ehd atldrpss)r                                                                      FOR COURT USEONLY
     Kenn.eth J. CatanzA rite (SBN 1 ~3750 ;       ,  ~ :~'~.
     Nicole M. Catanzarite-Woodward (SB .205745) "
     CATANZARITE LAW CORPORATION
     ~233.1 W. Lincoln Avenue, Anaheim; CA 92701
                        f
         TELEPHONE NO.: 714) 52 0-5544           FAx No.; ( i 1'~: 520-0680
 ATTORNEY FOR (Name):
                                        .i~1~
                                 IalTltills
SUPERIOR COURT OF CALIFORNIA, COUNTY.OF                       Orange
        STREETADDRESS: 700 Clvlc Cellter Drlve West
        MAILING ADDRESS: sanle
       CITY AND Z1P CODE: Sa11ta Arla           , CA 92701
                                  T
                                        a
          BRANCH NAME: Centr l Just'1Ce Center
  GASE NAME:
  Cultivation Technola ies, Inc, v, cottsdale Insurance Com an etsaL-~,
        CIVIL CASIE COVER SHEET                                                                                              CASE NUMBER:
                                                                             Complex Case Designation
0 Unlimited                      [-1 Limited                                                                                  90-2019-01096233-CU-IC-CJC
          (Amount                           (Amount                      0 Gounter              ~ Joinder
                                                                                                                              Ju°GE`
          demanded                          demanded is                  Filed withfirst appearance by defendant                         judge Glenn S81te1^
          exceeds $25,000)                  $25,000.or less)                 (CaL Rules of Court, rule 3.402)                  oEPT:
                                                Iccr,1A   1^u uc1uw Mu04 uc l.vffl/JrCtCu       IStlC   lrwlluUtrvrrJ url JJayC cJ.
1. Check one box below for the case type that best describes this.case:
      Auto Tort                                                    Contract                                           Provisionally Complex Civil Litigation
              Auto (22)                                            0 Breach of contraGtlwarranty (06)                 (Cal. Rules of Court, rules 3.400-3.403)
     ~        Unin.sured motorist (46).                            0 Rule 3.740 collections (09)                      0 AntitrustfTrade regulatlon (03)
      Qther PllPDlWD: (Personal InjurylProperty                    0 Other collections (09)                                  Construction defect (10)
      DamagelWrongful Deafh) Tort                                  ~ Insurance coverage, (18)                                Mass tort (40)
      ~Asbestos (04)                                                     Other contract (37)                                 Securities litigation (28)
      Q Product liataility (24)                                    Real Property                                             Environmental/Toxfc tort (30)
      ~ Medical malpractice (45)                                   0 Eminent domain/Inverse                                  Insurance coverage clafms arising from the
      Q Other PUPDIWD (23)                                               condemnation (14)                                   above listed provisionally complex case
                                                                   0 Wrongful eviction (33)                                  types (41)
      Non-PUPD/WD (Other) Tbrt
      ~ Business tort/unfairbusiness practice (07) 0 Other real property (26)                                         Enforcement of Judgment
      ~ Civil rights (08)                          Unlawful Detainer                                                  = Enforcement of judgment (20)
      0 Defamation (13)                                            0 Commercial (31)                                  Miscellaneous Civil Complaint
      ~ Fraud (16)                                                          ;Residential (32)                         0 RICO (27)
      Q Intellectual property (19)                                 ~ Drugs (36)                                              Other complaint (not specified`above) (42)
      0 Professional negligence(2$)                                dtRUdai Review
                                                                                                                      Miscellaneous Civil Petition
      0 Other non-PI/PD/VVD tort (35)                                   Asset forfeiture (05)
                                                                                                                      a partnership and corporate govemance(21)
      Employment                                                    ~"       PetiBan re: effiltration award (11)
                                                                                                                      ~ Other petition (not specified above) (43)'
      Q Wrongful termination;(36)                                  Q Writ Qf mandate (02)
      ~ Other employment (15)                                      [] Other iudicial review (39)
       This case U is             / is
                                Li_ ) not                     ~1,400 of the Calffornia Rule_s iqf Cg,urt. If ttta r~,sa 1$ o<1lrRtex;:ttlark the
       tactors requiring exceptional judicial management; .
       a.       Large numberof separately represented parties .• d.        Large number, of witnesses                         t
       b. Cf Extensive motion practice raising difficult or novel e:0 Coordinatiori w,ith related actions Aehdtrig "iri one br inofe courts
                issues that will be time-consuming to resolve              in other counfies; states, or countries, or in a federal court
       c. 0 Substantial amount of documentary evidence            f. 0 Substantial postjudgment judicial supervision
3.     Remedies sought (check all that apply): a.0 monetary b,= nonmonetafy,, declaratory or injunctive relief C. Q punitive
4.     Number"of causes of action (specify): One
5.     This case = is         ~✓is not a class action suit.
6.     If there ar.e any known related cases, file and sefve a notice of related case• (You , rm CM-095.)
oate: September 6, 2019                                                                             ,


  a PlaintifF rnust file this cover sheet with the first paper filed ir. the action or proceeding (except small claims cases or cases filed
       under the" Probate Code, Family Code, or Welfare and Institutibns Code). (Cal. Rules of Court, rule 3.220.) FailUre to file may result
    in sanctions.
  • File this cover sheet in addition`to any ,cover sheet requlred'by local court rule.
  * If this case is complex under:rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action,or proceeding.
  • Unless this is a collecfions.cas,e under rule 3.740 af•a ,c`omplex case, this cover sheet will be used for statistical purposes on~.
                                  - '       '                                                                                                                                     ane.1 af2
Form Adopted for Mandatory Use                                      C4 ~/(L C~;ra E    ~~^©~/E }~ S p~ EET                        Cal. Rules of Court, rules 2.30, 3:220,;3A00-3;403, 3:740;
  Judlaal Council af Celifomla                                                                                                            Cal. Standards of Judiaai Adminfstra~ion; std 310
     CM-010{Rev. Juyy'1; 20Q71                                                                                                                                         wlvw.cenfrtlnk:'ca:gov'

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Case 8:19-cv-01993-JVS-DFM Document 1-1 Filed 10/18/19 Page 9 of 13 Page ID #:13



                                       SUPERIOR COURT OF CALIFORNIA
                                            COIJN~"1( OF ORANGE

                           ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                  INFORIVIATION PACKAGE


  NOTICE TO PLAINTIFF(S) AND/OR CROSS-COIVIPLAINANT(S):

  Rule 3.221(c) of the California Rules of Court requires you to serve a copy of the
  ADR Information Package along with the complaint and/or cross-complaint.
                           -           California Rules of Court — Rule 3.221
                               Information about Alternative Dispute Resolution (ADR).

  (a) Each court shall make available to the plaintiff, at the time of filing of the complaint,
  an ADR Information Package that includes., at a minimum, all of the following:

       (1) General information about the potential advantages and disadvantages of ADR
       and descriptions of the principal ADR processes.

       (2) Information about the ADR programs available in that court, including citations to
       any applicable local court rules and directions for contacting any court staff
       responsible for providing parties with assistance regarding ADR.

      (3) Information about the availability of local dispute resolution programs funded
      under the Dispute Resolutions Program Act (DRPA), in counties that are
      participating in the DRPA. This information may take the form of a list of the
      applicable programs or directions for contacting the county's DRPA coordinator.

      (4) An ADR stipulation form that parties may use to stipulate to the use of an ADR
      process.

  (b) A court may make the ADR Information Package available on its website as long as
  paper copies are also made available in the clerk's office.
  (c) The plaintiff must serve a, copy of the ADR Information Package on each defendant
  along ;with the. complaint. . Cross-complainants must serve a copy, of the ADR
  Information Package on any new parties to the action along with the cross-complaint.




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                                 SUPERIOR COURT OF CALIFORNIA
                                      COUNTY OF ORANGE

                                              ADR Information
  Introduction.

  Most civil disputes are resolved without filing a iawsuit, and most civil lawsuits are resolved without a trial.
  The courts and others offer a variety of Alternative Dispute Resolution (ADR) processes to help people
  resolve disputes without a trial. ADR is usually less formal, less expensive, and less time-consuming than
  a' trial. ADR can also give peopie more opportunity to determine when and how their dispute will be
  resolved.

  BENEFITS OF ADR.

  Using ADR may have a variety of benefits, depending on the type of ADR process used and the
  circumstances of the particular case. Some potential benefits of ADR are summarized below.

  Save Time. A dispute often can be settled or decided much sooner with ADR; often in a matter of
  months, even weeks, while bringing a lawsuit to trial can take a year or more.

  Save Money. When cases are resolved earlier through ADR,. the parties may save some of the money
  they would have spent on attorney fees, court costs, experts' fees, and other litigation expenses.

  Increase Control Over the Process and the Outcome. In ADR, parties typically play a greater role in
  shaping both the process and its outcome..ln most ADR processes, parties have more opportunity to tell
  their side of the story than they do at trial. Some ADR processes, such as mediation, allow the parties to
  fashion creative resolutions that are not available in a trial. Other ADR processes, such as arbitration,
  allow the parties to choose an expert in a particular field to decide the dispute.

  Preserve Relationships. ADR can be a less adversarial and hostile way to resolve a dispute. For
  example; an experienced mediator can help the parties effectively communicate their needs and point of
  view to the other side. This can be an important advantage where the parties have a relationship to
  presenre.

  Increase Satisfaction. In a trial, there is typically, a winner and a loser. The loser is not likely to be
  happy, and even the winner.may not be completely satisfied with the outcome. ADR can help the parties
  find win-win solutions _and achieve their real goals. This, along with all of ADR's other potential
  advantages, may increase the parties' overall satisfaction with both the dispute resolution process and the
  outcome.

  Improve Attorney-Client Relationships. Attorneys may also benefit from ADR by being seen as
  problem-solvers, rather than combatants. Quick, cost-effective, and satisfying resolutions are likely to
  produce happier clients and thus generate repeat business from clients and referrals of their friends and
  associates.

  DISADVANTAGES OF ADR. . .

  ADR may not be suitable for every dispute.

  Loss of protections. If ADR is binding, the parties normally give up most. court protections, including a
  decision by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
  appellate court.

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  Less discovery. There generally is less opportunity to find out about the other side's case with ADR
  than with_ litigation. ADR may not be effective if it takes place before the parties have sufficient
  information to resolve the' dispute.

  Additional costs. The neutral may charge a fee for his or her services. If a dispute is not resolved
  through ADR, the parties may ha.ve.to put time and money into both ADR and a lawsuit.

  EfFect of delays if the dispute. is not resolved.. Lawsuits must be brought.within specified periods of
  time, known as statues of limitation. f'arties must be careful not to let a statute of limitations run out while
  a dispute is in an ADR process.

  TYPES OF ADR IN CIVIL CASES.

  The most commonly used ADR processes are arbitration, mediation, neutral evaluation and settlement
  conferences.

  Arbitration. In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from
  each side and then decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules
  of evidence are often relaxed. Arbitration may be either "binding" or . "nonbinding." Binding arbitration
  means that the parties waive their right to a trial and agree to accept the arbitrator's decision as final:
  Generally, there is no right to-appeal an arbitrator's decision. Nonbinding arbitration means that the
  parties are free to request a trial if they do not accept the arbitrator's decision.

       Cases for Which. Arbitration May Be Appropriate. Arbitration is best for cases where the parties
       want another person to decide the outcome of their dispute for them but would like to avoid the
       formality, time, and expense of a trial.: It may also be, appropriate for complex mafters where the
       parties want a decision-maker who has training or experience in the subject matter of the dispute.

      Cases for,Which Arbitration May Not Be Appropriate. If parties want to retain control over how
      their dispute is resolved, arbitration, particularly binding arbitration, is not appropriate. In binding
      arbitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the
      evidence or the. law. Even in nonbinding arbitration, if a party requests a trial and does not receive a
      more favorable result at trial than in arbitration, there may be penalties.

  Mediation. In mediation, an impartial person called a"mediator" helps the parties try to reach a mutually
  acceptable resolution of the dispute. The mediator does not decide the dispute but helps the parties
  communicate so they can try to settle the dispute themselves. Mediation,leaves control of the outcome
  with the parties.

      Cases for Which Mediation May Be Appropriate. Mediation may be particularly useful when
      parties have a relationship they want to preserve. So when family members, neighbors, or business
      partners have.a dispute, mediation may be the ADR process to use. Mediation is also effective when
      emotions are getting in the way of resolution. An effective mediator can hear the parties out and help
      them communicate with each other in an effective and nondestructive manner.

      Cases for V1lhich Mediation May Not Be Appropriate. Mediation may not be effective if one of the
      parties is. unwilling.to cooperate or..compromise. Mediation also. may not be effective. if one of the
      parties has a significant advantage in power ove'r the other. Therefore, it may not be a good choice if
      the parties have a history of abuse or victimization.

  Neutral. Evaluation. In neutral evaluation, each party gets a chance to present the case to a neutral
  person called an "evaluator." The evaluator then gives an opinion on the- strengths and weaknesses of
  each .party's evidence and arguments and about how the dispute could be resolved. The evaluator is


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  often an expert in the subject matter of the dispute. Although the evaluator's opinion is not binding, the
  parties typically use it as a basis for trying to negotiate a resolution of the dispute.

       Cases for Which Neutral Evaluation May 13e Appropriate. Neutral evaluation may be most
       appropriate in cases in 'which there are technical issues that require special expertise to resolve or
       the only significant issue in the case is the amount of damages.

       Cases for Which Neutral Evaluation May Not Be Appropriate. Neutral evaluation may not be
       appropriate when there are significant personal oremotional barriers to resolving the dispute.

  Settlement Conferences. Settlement conferences may be either mandatory or voluntary. In both types
  of settlement conferences, the parties and their attorneys meet with a judge or a neutral person called a
  "settlement officer" to discuss possible settlement of their dispute. The judge or.settlement officer does
  not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the
  case and in negotiating a settlement. Settlement conferences are appropriate in any case where
  settlement is an option. Mandatory-.settlement conferences are often held close to the date a case is set'
  for trial.

  ADDITIONAI_ INFORMATION.

  In addition to mediation, arbitration, neutral evaluation, and seftlement conferences, there are other types
  of ADR, including conciliation, fact finding, mini-trials, and summary jury trials. Sometimes parties will try
  a combination of A.DR types. The importarit thing is to try to find the type or types of ADR that are most
  likely to resolve your dispute. .              .

  To locate a dispute resolution program or neutral in;your.community:
       •    Contact the California Department of.Consunier Affairs; Consumer Information Center, toll free, at
            1-800-852-5210
       •    Contact the Orange County Bar Association at (949) 440-6700
       •    Look in the telephone d.irector•ies.under."Arbitrators"..or "Mediators"

  Low cost mediation, services are provided under the' Orange County Dispute Resolution Program Act
  (DRPA). For information.regarding DRPA, contac.t:.
     • Waymakers (949) 250-4058
                                                                                        ~
  For information on the Superior Court of California, County of Orange court ordered arbitration program,
  refer to Local Rule 360:.

  The Orange, County Superior Court . ofiFers programs for Civil Mediation "and'• Early Neutral Evaluation
  (ENE). For the Civil Mediation program;_mediators on the Co.urt's panel have a.greed to accept a fee of
  $300 for up to the first two hours of a mediation session. For. the ENE. program, members of the Court's
  panel.;have .agreed to accept a fee of $300 for up to three hours of an ENE session. Additional
  information on the ,Orange County Superior Court Civil Mediation and Early Neutral Evaluation (ENE)
  programs,is available on I the Court's website at.www.occourts.org.




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 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name & Address):                                            FOR COURT USE ONLY



 Telephone No.:                                   Fax No. (Optional):
 E-Mail Address (Optional):
 ATTORNEY FOR (Name):                                       Bar No: .
 SUPERIOR COURT OF CALIFORNIA, COUhMTY OF'ORANGE
 JUSTICE CENTER:
 ❑ Central — 700 Civic Center Dr: West, Santa Ana, CA 92701-4045
 ❑ Civil Complex Center = 751 W. Santa Ana Blvd.; Santa Ana, CA 92701-4512
 ❑ Harbor — Newport Beach Facility — 4601 Jamboree Rd., Newport Beach, CA 92660-2595
 ❑ North —1275 N. Berkeley Ave., P.O. Box 5000, Fullerton, CA 92838-0500

 PLAINTIFF/PETITIONER:
 DEFENDANT/RESPONDENT:
                                                                                          CASE NUMBER:
    ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION


Plaintiff(s)/Petitioner(s),



and defendant(s)/respondent(s),


                              ,
agree to the following dispute resolution process:

❑ Mediation

❑    Arbitration (must specify code)
                   ❑ Under sectiori 1141.11 of the Code.of Civil Procedure
                   ❑ Under section 1280 of the Code of Civil Procedure

❑    Neutral Case Evaluation

The ADR process must be completed no later thari 90 days after the date of this Stipulation or the date the case
was referred, whichever is sooner. .

❑ I have an. Order on Court Fee Waiver (FW-003). on file, and the selected ADR Neutral(s) are eligible to
provide pro bono services.

❑    The ADR Neutral Selection and Party List is attached to this Stipulation.

We understand that there may be a charge for services provided by neutrals. We understand that participating in
an ADR process does'not extend the time periods specified in California Rules of Court, rule 3.720 et seq.


Date:
                                  (SIGNATURE OF PLAINTIFF ORATTORNEY)              (SIGNATURE OF PLAINTIFF OR ATTORNEY)



Date:
                                  (SIGNATURE OF DEFENDANT OR ATTORNF_Y)           (SIGNATURE OF DEFENDANT OR ATTORNEY)




                     ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION
Approved for Optional Use                                                                    California Rules of Court, rule 3.221
L1270 (Rev. Jul. 2014)                                            , ' :
